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B2570 (Form 2570 — Subpoena to Produce Documents, Information, or Objects or To Permit Inspection ina Bankruptcy Case or Adversary Proceeding) (12/15)

UNITED STATES BANKRUPTCY COURT

District of Delaware

 

In re Boy Scouts of America and Delaware BSA, LLC
Debtor

 

CaseNo. _20-10343 (LSS) _-

(Complete if issued in an adversary proceeding)

 

 

Chapter 11
Plaintiff
Vv. Adv. Proc. No.
Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

To: Chubb Group Holdings, Inc., c/o its Registered Agent The Corporation Trust Company
1209 Orange Street, Wilmington, DE 19801(Name of person to whom the subpoena is directed)

[m| Production. YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Exhibit 1

 

PLACE DATE AND TIME
Monzack Mersky & Browder, P.A., 1201 N Orange St, Ste 400, Wilm., DE 19801 05/18/21 5:00 pm

 

 

 

 

[_] Inspection of Premises. YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

PLACE DATE AND TIME

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached — Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: 05/11/21
CLERK OF COURT

OR
/s/ Rachel Mersky

Signature of Clerk or Deputy Clerk Attorney’s signature

 

 

 

The name, address, email address, and telephone number of the attorney representing (name of party) Coalition of
Abused Scouts for Justice, who issues or requests this subpoena, are: Rachel Mersky, Monzack Mersky & Browder, P.A.

1201 N Orange St, Ste 400, Wilmington, DE 19801, RMersky @Monlaw.com, 302-656-8162

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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B2570 (Form 2570 — Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case

or Adversary Proceeding) (Page 2)
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PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

CHUBB GROUP HOLDINGS, INC.
I received this subpoena for (name of individual and title, if any):

on (date)

 

CHUBB GROUP HOLDINGS, INC.

a I served the subpoena by delivering a co yt the named person as follows:
/O THE CORPORATION TRUST OMPA YY, 1209 ORANGE ST., WILMINGTON, DE T980T, ACCEPTED BY: AMY

MCLAREN (AUTHORIZED PERSON) 05/11/2021

 

on (date)

>

 

[_] I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $

 

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true and correct.

05/11/2021 “or
Date:

Server's signature

KEVIN S. DUNN PROCESS SERVER

 

BRANDYWINE PROCEES’*SERUEREL TD.
PO BOX 1360, WILMINGTON, DE 19899
302-475-2600

 

Server's address

Additional information concerning attempted service, etc.:

SERVED WITH EXHIBIT 1
